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                         IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF OREGON

DR. YONGLI ZHANG,

            Plaintiff,                                        Civ. No. 6:18-cv-232-MK

     v.                                                       JUDGMENT

UNIVERSITY OF OREGON, and YUE
FANG,

            Defendants.
_____________________________

MCSHANE, Judge:

     Based on the record, judgment for defendants.

IT IS SO ORDERED.

     DATED this 3rd day of January, 2020.



                                         _______/s/ Michael J. McShane________
                                                 Michael McShane
                                             United States District Judge

1 –JUDGMENT
